

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 74,927






EX PARTE BRYANT LAMONT SHOFFNER, Applicant






ON APPLICATION FOR A WRIT OF HABEAS CORPUS


FROM TAYLOR COUNTY





	Per Curiam.

O P I N I O N





	This is a post-conviction application for a writ of habeas corpus forwarded to this Court
pursuant to Tex. Code Crim. Proc. art. 11.07, Applicant was convicted of the felony offense
of aggravated robbery, and punishment was assessed at fifteen  years imprisonment.  Applicant
appealed, and his conviction was affirmed. Shoffner v. State, No. 11-01-00070-CR (Tex. App.
-- Eastland, delivered May 23, 2002, no pet. ).

	Applicant contends that he was denied an opportunity to file a petition for discretionary
review because his appellate attorney did not timely notify him that his conviction had been
affirmed or that he could seek discretionary review, pro se.  The trial court, based upon an
affidavit from appellate counsel, recommended that relief be granted.  The record reflects that
counsel did not timely inform Applicant that his conviction had been affirmed or that he could
file a petition for discretionary review from his conviction.

	Habeas corpus relief is granted, in part, and Applicant is granted leave to file an out-of-time petition for discretionary review from his conviction in cause number 20,001-A from the
42nd Judicial District Court of Taylor County.  Applicant is ordered returned to the point at
which he can file a meaningful petition for discretionary review.  For purposes of the Texas
Rules of Appellate Procedure, all time limits shall be calculated as if the Court of Appeals'
decision had been rendered on the day the mandate of this Court issues.  We hold that should
Applicant desire to seek discretionary review, he must take affirmative steps to see that his
petition is filed in the Court of Appeals within thirty days of the date the mandate of this Court
has issued.

	

DELIVERED: March 31, 2004

DO NOT PUBLISH


